       Case 2:13-cr-02094-TOR            ECF No. 809        filed 11/04/14     PageID.3124 Page 1 of 1
PROB 12B
(7/93)

                                        United States District Court

                                                       for the

                                         Eastern District of Washington

                       Request for Modifying the Conditions or Term of Supervision
                                      with Consent of the Offender

 Name of Offender: Cecilio Mendoza-Magana                     Case Number: 2:13CR02094-TOR-018
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: September 10, 2014                Type of Supervision: Supervised Release
 Original Offense: Misprision of a Felony, 18 U.S.C. § 4      Date Supervision Commenced: September 10, 2014
 Original Sentence: Prison - 3 D; TSR - 12 M                  Date Supervision Expires: September 9, 2015


                                          PETITIONING THE COURT

To modify the conditions of supervision as follows:


           Mandatory Condition # 4: The defendant shall refrain from any unlawful use of a controlled substance.
           The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
           periodic drug tests thereafter, as directed by the probation officer.


                                                       CAUSE

This officer is respectfully recommending the Court waive the aforementioned drug testing requirement for this
defendant. Mr. Mendoza-Magana has on-going medical issues with his colon and digestive system, and he does not
have a history of substance abuse. Taking into consideration this defendant’s medical issues and his low risk to use
controlled substances, this officer believes the drug testing condition is unnecessary.

                                                                              Respectfully submitted,
                                                                       by     s/SanJuanita B. Coronado
                                                                              SanJuanita B. Coronado
                                                                              U.S. Probation Officer
                                                                              Date: November 4, 2014
THE COURT ORDERS

[ ]        No Action
[ ]        The Extension of Supervision as Noted Above
[X ]       The Modification of Conditions as Noted Above
[ ]        Other                                                              Signature of Judicial Officer

                                                                              November 4, 2014
                                                                              Date
